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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

 ________________________________________________________________________

 AMERICAN CLOTHING EXPRESS, INC.,
 D/B/A ALLURE BRIDALS AND JUSTIN
 ALEXANDER, INC.,

        Plaintiffs,
                                                      Civil No. 2:20-cv-2007-SHM-atc

 v.


 CLOUDFLARE, INC. and DOES 1 - 200,
 Inclusive,

       Defendants,
 ______________________________________________________________________________

                          CLERK’S ENTRY OF DEFAULT
 ______________________________________________________________________________

        Upon the Motion for Entry of Default filed by Plaintiffs, American Clothing Express, Inc.
 d/b/a Allure Bridals and Justin Alexander, Inc., on October 13, 2021.
        DEFAULT IS HEREBY ENTERED against the Defendant, Website Defendant
 balklanningaronline.net, for failure to answer or otherwise defend.
 Service was made upon the named Defendants in accordance to Rule 55[a] of the FRCvP.
        For good cause shown, the court may set aside this motion for entry of default, pursuant
 to Rule 55(c).


        Entered this 18th day of October 2021.


                                                      THOMAS M. GOULD
                                                      Clerk of Court

                                                      By:    s/Anthony Johnson
                                                             Deputy Clerk
